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 9
10                    UNITED STATES DISTRICT COURT
11                                 DISTRICT OF ARIZONA
12    Frank Jarvis Atwood,                   CV 22–00860–PHX–MTL (JZB)
13                           Plaintiff,
14            -vs-                           SUR-REPLY TO PLAINTIFF’S
15                                           REPLY TO RESPONSE TO
      David Shinn, et al.,
                                             MOTION FOR TEMPORARY
16                           Defendants.     RESTRAINING ORDER AND/OR
17                                           PRELIMINARY INJUNCTION

18
19          In his Reply to Response to Motion for Temporary Restraining Order and/or
20 Preliminary Injunction, Plaintiff Frank Jarvis Atwood asserts that Defendants’
21 Response ignores his “central justification for an injunction” which he asserts are
22 his claims regarding the beyond use date of the compounded pentobarbital that
23 will be used for his execution. Dkt. 35, at 3–10. However, Atwood’s Motion for
24 Temporary Restraining Order and/or Preliminary Injunction did not seek
25 emergency injunctive relief on that basis. Instead, Atwood only argued that he
26 was likely to succeed on the merits of his claims that: 1) “Arizona’s execution
27 protocol requirement of laying an individual supine on a gurney and strapping
28 them down before injecting them with lethal drugs is a violation of the Eighth
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 1 Amendment as applied to Mr. Atwood”; and 2) requiring him to lie supine on the
 2 execution table would violate his rights under the ADA. Dkt. 16, at 13–18.
 3         A party seeking a preliminary injunction must establish, in addition to other
 4 requirements, “that he is likely to succeed on the merits.” Winter v. Nat. Res. Def.
 5 Council, Inc., 555 U.S. 7, 20 (2008). Atwood did not argue that he is likely to
 6 succeed on the merits of his claims regarding the execution drug in his motion. To
 7 the extent he attempts to raise it for the first time in his reply, that argument is
 8 waived. Graves v. Arpaio, 623 F.3d 1043, 1048 (9th Cir. 2010) (“arguments
 9 raised for the first time in a reply brief are waived”). Atwood has therefore
10 waived any request for emergency injunctive relief based on his claims regarding
11 the compounded pentobarbital’s beyond use date.
12         Moreover, even if an injunction on this basis were not waived, Atwood has
13 failed to show a reasonable likelihood of success on the merits of his claims based
14 on the beyond use date. The premise of Atwood’s claims regarding the beyond
15 use date is that the compounded pentobarbital to be used in his execution will be
16 expired. However, during the course of litigation Atwood previously filed in the
17 Arizona Supreme Court on that issue, ADCRR provided information establishing
18 that the compounded pentobarbital that will be used in Atwood’s execution will
19 not be expired because it has a beyond use date of October 6, 2022.             (See
20 Attachment.) Atwood is therefore incorrect that the drug will be expired.
21         To succeed on an Eighth Amendment method-of-execution claim regarding
22 the drug’s beyond use date, Atwood must establish that the method presents a risk
23 that is “sure or very likely to cause serious illness and needless suffering and give
24 rise to sufficiently imminent dangers.” Glossip v. Gross, 576 U.S. 863, 877 (2015)
25 (quoting Baze v. Rees, 553 U.S. 35, 50 (2008)) (cleaned up). And for Atwood to
26 prevail, “there must be a substantial risk of serious harm, an objectively
27 intolerable risk of harm that prevents prison officials from pleading that they were
28 subjectively blameless for purposes of the Eighth Amendment.” Id. (quoting Baze,
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 1 553 U.S. at 50) (cleaned up). Because the pentobarbital has a beyond use date of
 2 October 6, 2022, Atwood has failed to show a reasonable likelihood that the
 3 compounded pentobarbital is sure or very likely to “cruelly superadd[] pain to the
 4 death sentence.” See Bucklew v. Precythe, 139 S. Ct. 1112, 1125 (2019).
 5         Nor has Atwood shown a reasonable likelihood of success on a due process
 6 claim regarding the requirement that ADCRR not use an expired drug. “Where a
 7 particular amendment ‘provides an explicit textual source of constitutional
 8 protection’ against a particular sort of government behavior, ‘that Amendment, not
 9 the more generalized notion of “substantive due process,” must be the guide for
10 analyzing these claims.’” Albright v. Oliver, 510 U.S. 266, 273 (1994) (Rehnquist,
11 C.J., for plurality) (quoting Graham v. Connor, 490 U.S. 386, 395 (1989)). In
12 other words, “if a constitutional claim is covered by a specific constitutional
13 provision, such as the Fourth or Eighth Amendment, the claim must be analyzed
14 under the standard appropriate to that specific provision, not under the rubric of
15 substantive due process.” United States v. Lanier, 520 U.S. 259, 272 n. 7 (1997)
16 (emphasis added); see also Hall v. City of Los Angeles, 697 F.3d 1059, 1068
17 (9th Cir.2012) (“Where a particular Amendment provides an explicit textual
18 source of constitutional protection against a particular sort of government
19 behavior, that Amendment, not the more generalized notion of substantive due
20 process, must be the guide for analyzing such a claim.”). Dixon’s substantive
21 liberty interest is to be executed without violating the Eighth Amendment’s
22 prohibition against “cruel and unusual punishment[].” Instead, Dixon’s claim
23 must be analyzed under the Eighth Amendment’s specific rubric and not under the
24 generalized due process rubric.
25         Furthermore, Atwood ‘s beyond use date claims seek to go far beyond the
26 execution procedures by challenging the methodology used to establish the
27 pentobarbital’s beyond use date and seeking evidentiary development regarding
28 that methodology.     Nothing in the ADCRR’s execution procedures supports
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 1 Atwood’s attempt. The procedures simply require that ADCRR act in good faith
 2 by not using a chemical for an execution that is past its beyond use date. The
 3 procedures do not specify how a beyond use date must be determined.             By
 4 asserting that ADCRR is in violation of its execution procedures based on the
 5 contention that the pentobarbital’s beyond use date is invalid and requesting
 6 factual determinations regarding how the BUD was derived, Atwood thus goes far
 7 beyond what is required by either ADCRR’s execution procedures or the Eighth
 8 Amendment.
 9         Atwood cites no legal authority in support of his request to challenge and
10 litigate the validity of the pentobarbital’s beyond use date. See Dkt. 16, at 4–5;
11 Dkt. 35, at 3–10.       By analogy, if ADCRR intended to use manufactured
12 pentobarbital, rather than a compounded product, no legal authority would support
13 an inmate’s ability to dispute the expiration date placed on the label by the
14 manufacturer or to engage in discovery regarding the process by which the
15 manufacturer derived the expiration date. Atwood’s therefore has failed to show a
16 reasonable likelihood of success on the merits of his claims challenging the
17 compounded pentobarbital’s beyond use date.
18         Finally, even if Atwood could establish that he is entitled to emergency
19 injunctive relief on his beyond-use-date claims, the appropriate remedy would not
20 be a stay of execution or an order requiring ADCRR to use an alternative method
21 of execution.    Instead, the appropriate remedy would be an order requiring
22 ADCRR to prepare a new batch of compounded pentobarbital within 72 hours of
23 Atwood’s execution and provide the results of quantitative testing of that batch to
24 Atwood. Such a remedy, as occurred by agreement of the parties in the recent
25 execution of Clarence Dixon (which Atwood acknowledges, Dkt. 35, at 4), would
26 render moot any claim that the compounded pentobarbital used for Atwood’s
27 execution is expired.
28
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 1        RESPECTFULLY SUBMITTED this 2nd day of June, 2022.
 2
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 1                           CERTIFICATE OF SERVICE
 2
          I hereby certify that on June 2, 2022, I electronically transmitted the
 3 attached document to the Clerk’s Office using the ECF System for filing and
 4 served the attached document using ECF on the following registered participants
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           ATTACHMENT
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